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 Attorneys for Defendant Brent Smith


                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT AND KARMANN
  KASTEN, LLC,                                           Case No: 2:23-cv-00936-AMA-CMR

          Plaintiffs,                                     DEFENDANT BRENT SMITH’S
                                                            RULE 7.1 DISCLOSURE
  vs.

  KEVIN LONG; MILLCREEK                                 District Judge Ann Marie McIff Allen
  COMMERCIAL PROPERTIES, LLC;                           Magistrate Judge Cecilia M. Romero
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,

          Defendants.



        Defendant Brent Smith (“Smith”) makes this Rule 7.1 disclosure. Smith is not an entity.

 He is a citizen of the United States and the State of Utah.




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       DATED this 24th day of February, 2025.

                                         WORKMAN NYDEGGER


                                         By: /s/ Brian N. Platt
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